                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court

U.S. District Court case number:               3:23-cv-00058-SLG
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court:                  03/14/2023

Date of judgment or order you are appealing:                     11/09/2023

Docket entry number of judgment or order you are appealing:                               166, 167
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  SOVEREIGN IÑUPIAT FOR A LIVING ARCTIC, ALASKA WILDERNESS
  LEAGUE, ENVIRONMENT AMERICA, NORTHERN ALASKA
  ENVIRONMENTAL CENTER, SIERRA CLUB, and THE WILDERNESS
  SOCIETY
Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     23-35226
Your mailing address (if pro se):
Trustees for Alaska

121 W. Fireweed Lane, Suite 105

City: Anchorage                               State: AK               Zip Code: 99503

Prisoner Inmate or A Number (if applicable):

Signature       s/Bridget Psarianos                                     Date Nov 10, 2023
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Sovereign Iñupiat for a Living Arctic, Alaska Wilderness League, Northern
Alaska Environmental Center, Sierra Club, and The Wilderness Society

Name(s) of counsel (if any):
Bridget Psarianos, Suzanne Bostrom, Brook Brisson



Address: 121 W. Fireweed Ln., Suite 105, Anchorage, AK 99503
Telephone number(s): 907-433-2011, 907-433-2015, 907-433-2012
Email(s): bpsarianos@trustees.org, sbostrum@trustees.org, bbrisson@trustees.org
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes   No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
U.S. Bureau of Land Management, U.S. Fish & Wildlife Service, U.S.
Department of the Interior

Name(s) of counsel (if any):
Paul Turcke, Rickey Turner



Address: 950 Pennsylvania Avenue, NW Washington, DC 20530
Telephone number(s): 202-532-5994
Email(s): paul.turcke@usdoj.gov; Rickey.Turner@usdoj.gov


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes   No
Appellees
Name(s) of party/parties:
ConocoPhillips Alaska, Inc.

Name(s) of counsel (if any):
Ryan P. Steen, Jason T. Morgan, Whitney A. Brown


Address: 600 University Street, Suite 3600, Seattle, WA 98101
Telephone number(s): 206-624-0900
Email(s): ryan.steen@stoel.com, jason.morgan@stoel.com, whitney.brown@stoel
Name(s) of party/parties:
Arctic Slope Regional Corporation

Name(s) of counsel (if any):
Stacey Bosshardt, Eric Fjelstad


Address: 700 Thirteenth Street, N.W., Suite 800, Washington, D.C. 20005
Telephone number(s): 202-654-6200, 907-279-8561
Email(s): SBosshardt@perkinscoie.com, EFjelstad@perkinscoie.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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                                                                   5
Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes   No
Appellees
Name(s) of party/parties:
Kuukpik Corporation

Name(s) of counsel (if any):
Patrick W. Munson, Brooks W. Chandler, Charles A. Cacciola


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Telephone number(s): (907) 272-8401
Email(s): pmunson@bcfaklaw.com, bchandler@bcfaklaw.com, ccacciola@bcfaklaw.com
Name(s) of party/parties:
North Slope Borough

Name(s) of counsel (if any):
Tyson C. Kade, Jonathan D. Simon, Melinda L. Meade Meyers, Charlene Koski


Address: 1050 Thomas Jefferson Street, NW Washington, DC 20007
Telephone number(s): 202-298-1800, 206-623-9372
Email(s): tck@vnf.com, jxs@vnf.com, mmm@vnf.com, cbk@vnf.com
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes   No
Appellees
Name(s) of party/parties:
State of Alaska

Name(s) of counsel (if any):
Treg Taylor, Mary Hunter Gramling


Address: P.O. Box 110300 Juneau, AK 99811-0300
Telephone number(s): 907-465-3600
Email(s): treg.taylor@alaska.gov, mary.gramling@alaska.gov
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
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Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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